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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
National Council of Nonprofits, et al.,    )
                                           )
                            Plaintiffs,    )
                                           )
                     v.                    )    Civil Action No. 1:25-cv-239
                                           )
Office of Management and Budget, et al.,   )
                                           )
                            Defendants.    )
__________________________________________)


 DEFENDANTS’ NOTICE REGARDING PLAINTIFFS’ MOTION FOR TEMPORARY
                       RESTRAINING ORDER

       Plaintiffs in the above-captioned action have requested that this Court enter a sweeping

temporary restraining order, interfering with the Office of Management and Budget’s (OMB’s)

instructions to agencies on how to faithfully implement the President’s agenda. Moreover,

Plaintiffs request that the Court enter this relief in a matter of hours—without any meaningful

opportunity for Defendants or the Court to consider and address the relevant issues. And Plaintiffs

make this request without any particularized showing that immediate relief is necessary—i.e., that

a temporary restraining order is necessary to avoid irreparable harm that would occur in the short

time needed to adjudicate their request for emergency relief on a reasonable timeline.

       Plaintiffs in this case challenge a Memorandum issued by OMB, directing that “to the

extent permissible under applicable law, Federal agencies must temporarily pause” certain federal

financial assistance. OMB Mem. 25-13, Temporary Pause of Agency Grant, Loan, and Other

Financial Assistance Programs (Jan. 27, 2025) at 2. On January 28, 2025, OMB issued further

guidance about the scope of that temporary pause, confirming that “the pause does not apply

across-the-board” and implicates only those programs subject to certain Executive Orders. See



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Guidance (attached hereto) at 1 (“Any program not implicated by the President’s Executive Orders

is not subject to the pause.”). Undersigned counsel e-mailed a copy of this Guidance to Plaintiffs’

counsel at approximately 1:31 p.m. ET on January 28, 2025.

          Particularly in light of this Guidance, Plaintiffs have not established the need for immediate

relief within the next several hours. Based on the current record, they have not shown which (if

any) of their identified grant programs may even be affected by the pause. Moreover, even if a

particular grant program involving Plaintiffs is paused, Plaintiffs have not established that they

otherwise would expect to receive payments under that grant program within the next several days

or even weeks—which is the only timeframe relevant to Plaintiffs’ request for a temporary

restraining order that would last, at most, 14 days subject to renewal. See Fed. R. Civ. P. 65(b)(2).

Nor have Plaintiff established that any temporary delay in such payments, for the short time needed

to litigate their motion on a reasonable timeframe, would cause catastrophic harms requiring earlier

action.

          Thus, Defendants respectfully submit that these proceedings should unfold on a reasonable

timeline, allowing for due consideration of Plaintiffs’ claims and their request for expansive relief.

Defendants respectfully submit that they be afforded at least until 5:00 p.m. on Thursday,

January 30, 2025, to file a written opposition to Plaintiffs’ motion, at which point Defendants

would be available on Friday, January 31, 2025 (or any date thereafter) for a hearing on Plaintiffs’

motion.

Dated: January 28, 2025                                 Respectfully Submitted,

                                                        BRETT A. SHUMATE
                                                        Acting Assistant Attorney General

                                                        ERIC J. HAMILTON
                                                        Deputy Assistant Attorney General




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                                   ALEXANDER K. HAAS
                                   Director

                                   /s/ Daniel Schwei
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